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                                                                                      Jeremy D. Anderson
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  VIA CM/ECF

  The Honorable Jennifer L. Hall
  J. Caleb Boggs Federal Building
  844 N. King Street
  Room 3124, Unit 17
  Wilmington, DE 19801-3555
  Re:     Amarin Pharma, Inc., et al. v. Hikma Pharmaceuticals USA, Inc., et al.
          C.A. 20-1630-RGA-JLH

  Dear Judge Hall:

  As required by Paragraph 14 of the Scheduling Order (Dkt. 50), the Parties hereby submit
  this joint letter regarding the case status to the Court. On February 17, 2021, the Court
  granted the Parties’ Stipulation and Order Concerning Claim Construction (Dkt. 105), which
  obviated the need for further claim construction briefing or argument in this case.

  On March 1, 2022, the Court denied the Joint Stipulation of Amarin and Hikma to sever the
  claims against Hikma and did not enter the proposed Final Judgment attached to that Joint
  Stipulation. (Dkt. 107.) In light of the Court’s dismissal of all claims against Hikma from
  the case (Dkts. 97, 98), Amarin and Hikma both desire the entry of final judgment. Hikma
  wishes to fully and finally exit the pending district court proceedings now that the claims
  against it have been dismissed, and Amarin wishes to have the opportunity to appeal the
  Court’s order granting Hikma’s motion to dismiss.1 Amarin and Hikma respectfully request
  a telephonic status conference to obtain the Court’s guidance as to the preferred method for
  achieving those goals, such as, for example, whether the Court would be amenable to a joint
  motion for partial final judgment pursuant to Federal Rule of Civil Procedure 54(b).

  Regarding discovery in this case, the parties have exchanged their initial infringement
  contentions and initial invalidity contentions. Document production is ongoing. In light of the
  dismissal of the claims against Hikma, Hikma is no longer involved in document production or

  1
   Amarin no longer asserts U.S. Patent No. 8,642,077 against Hikma and seeks to appeal the Court’s Order
  dismissing the claims against Hikma only as to U.S. Patent Nos. 9,700,537 and 10,568,861.
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  other discovery in this case. The deadline for substantially complete document production is
  May 20, 2022. (Dkt. 50, ¶ 8(b).)

  Please do not hesitate to have Your Honor’s staff contact us with any questions regarding the
  foregoing.


  Dated: March 31, 2022


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